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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION



Snik LLC,

                  Plaintiff,                      Civil Action No. 2:19-cv-00387-JRG

       v.

Samsung Electronics Co., Ltd.; and
Samsung Electronics America, Inc.,

                  Defendants.



         PLAINTIFF SNIK LLC’S OPENING CLAIM CONSTRUCTION BRIEF

       Pursuant to P.R. 4-5(a) Plaintiff Snik LLC (“Snik”) respectfully submits its Opening Brief

on claim construction.
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I.     INTRODUCTION

       Contrary to well-settled principles of claim construction, Samsung requests that the Court

construe the claim terms: “deactivation signal;” “activation signal;” “decoupled;” and “coupled.”

These terms require no construction. At most, the Court should give the terms their plain and

ordinary meanings in light of the intrinsic evidence. Samsung’s proposed constructions are

contrary to the plain language of claims of U.S. Patent Nos. 9,167,329 (the “’329 Patent”)

(Declaration of John S. Kyle (“Kyle Decl.”), ¶2 & Ex. A) and 9,769,556 (the “’556 Patent”) (id.

at ¶3 & Ex. B) (together, the “Patents-in-Suit”); are contrary to use of the terms in the specifications

of the Patents-in-Suit; violate the doctrine of claim differentiation; give a claim term different

meanings where the term is used several times in the same claim, within the same patent, or in

both Patents-in-Suit; import non-existent limitations into the claims; read disclosed embodiments

out of the Patents-in-Suit; attempt to fabricate disclaimer of claim scope without evidence of “clear

and unmistakable” surrender of scope; create uncertainty in the claims rather than reduce it; and

are contrary to construction of similar terms in other claim construction orders of this Court, other

District Courts, and the Federal Circuit.

       In fact, the words in Samsung’s proposed constructions, namely “physically,” “physically

connected,” “physically separated,” “an operation,” “starts an operation,” “stops an operation,”

and “an operation on an electronic device” do not appear anywhere in the intrinsic evidence

excepted in cited prior art, and even then their use is not relevant here. Thus, to support its attempt

to rewrite the claims to include nonexistent limitations, Samsung resorts to needless extrinsic

evidence. A POSITA, the Court and a jury can readily understand the terms based on the intrinsic

evidence alone. Accordingly, the Court should not consider extrinsic evidence.




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II.    BACKGROUND

       Rob Honeycutt (“Honeycutt”) is the inventor of the Patents-in-Suit. He is an inventor and

entrepreneur. He grew up in a small town in East Tennessee, but, following a cross-country bicycle

trip after art school, he ended up as a bike messenger in San Francisco. Based on that experience,

he founded his first company, the well-known messenger-bag company, Timbuk2. In 2005,

Honeycutt sold his interest in Timbuk2 and contemplated his next venture. In late 2008, he

explored the idea of “cord management” to address the issue of cord tangling that particularly

annoyed him as an avid bicyclist. In early 2012, he conceived of the idea of using magnets to

control wireless devices coupled to headphones. On February 22, 2012; July 13, 2012; and

October 10, 2012, Honeycutt filed provisional patent applications to which both the ’329 Patent

and the ’556 Patent claim priority. Honeycutt spent years and substantial sums of money trying to

develop a product to take to market. Ultimately, he lacked the capital to realize this dream.

III.   APPLICABLE LAW

       “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the invention to

which the patentee is entitled the right to exclude.’” Phillips v. AWH Corp., 415 F.3d 1303, 1312

(Fed. Cir. 2005) (en banc) (quoting Innova/Pure Water Inc. v. Safari Water Filtration Sys., Inc.,

381 F.3d 1111, 1115 (Fed. Cir. 2004)). To determine the meaning of the claims, courts start by

considering the intrinsic evidence. Id. at 1313; C.R. Bard, Inc. v. U.S. Surgical Corp., 388 F.3d

858, 861 (Fed. Cir. 2004); Bell Atl. Network Servs., Inc. v. Covad Commc’ns Group, Inc., 262 F.3d

1258, 1267 (Fed. Cir. 2001).       The intrinsic evidence includes the claims themselves, the

specification, and the prosecution history. Phillips, 415 F.3d at 1314; C.R. Bard, 388 F.3d at 861.

Courts give claim terms their ordinary and accustomed meaning as understood by one of ordinary




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skill in the art at the time of the invention in the context of the entire patent. Phillips, 415 F.3d at

1312-13; Alloc, Inc. v. ITC, 342 F.3d 1361, 1368 (Fed. Cir. 2003).

        The claims themselves provide substantial guidance in determining the meaning of

particular claim terms. Phillips, 415 F.3d at 1314. First, a term’s context in the asserted claim can

be very instructive. Id. Other asserted or unasserted claims can also aid in determining the claim’s

meaning because claim terms are typically used consistently throughout the patent.                   Id.

Differences among the claim terms can also assist in understanding a term’s meaning. Id. For

example, when a dependent claim adds a limitation, it is presumed that the independent claim from

which it depends does not include the limitation. Id. at 1314-15. In fact, the Court may use the

language of the claims alone to construe their terms. See Interactive Gift Exp., Inc. v. Compuserve

Inc., 256 F.3d 1323, 1331 (Fed. Cir. 2001).

        “[C]laims ‘must be read in view of the specification, of which they are a part.’” Phillips,

415 F.3d at 1315 (quoting Markman v. Westview Instruments, Inc., 52 F.3d 967, 979 (Fed. Cir.

1995) (en banc)). “[T]he specification ‘is always highly relevant to the claim construction

analysis. Usually, it is dispositive; it is the single best guide to the meaning of a disputed term.’”

Id. (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996)); Teleflex,

Inc. v. Ficosa N. Am. Corp., 299 F.3d 1313, 1325 (Fed. Cir. 2002). The specification may also

resolve ambiguous claim terms “where the ordinary and accustomed meaning of the words used

in the claims lack sufficient clarity to permit the scope of the claim to be ascertained from the

words alone.” Teleflex, 299 F.3d at 1325. But, “‘[a]lthough the specification may aid the court in

interpreting the meaning of disputed claim language, particular embodiments and examples

appearing in the specification will not generally be read into the claims.’” Comark Commc’ns,

Inc. v. Harris Corp., 156 F.3d 1182, 1187 (Fed. Cir. 1998) (quoting Constant v. Advanced Micro-




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Devices, Inc., 848 F.2d 1560, 1571 (Fed. Cir. 1988)); see also Phillips, 415 F.3d at 1323. The

prosecution history may also supply context for claim construction. Home Diagnostics, Inc., v.

Lifescan, Inc., 381 F.3d 1352, 1356 (Fed. Cir. 2004) (“As in the case of the specification, a patent

applicant may define a term in prosecuting a patent.”).

       Although extrinsic evidence can be useful, it is “‘less significant than the intrinsic record

in determining the legally operative meaning of claim language.’” Phillips, 415 F.3d at 1317

(quoting C.R. Bard, 388 F.3d at 862). Technical dictionaries and treatises may help a court

understand the underlying technology and the manner in which one skilled in the art might use

claim terms; but, technical dictionaries and treatises may provide definitions that are too broad or

may not be indicative of how the term is used in the patent. Id. at 1318, 1321-22. Therefore, the

Court should not resort to extrinsic evidence unless it cannot construe claim terms based on the

claim language, the specification, and the prosecution history—in that order. In most cases,

intrinsic evidence will be sufficient to resolve ambiguities and to determine the meaning of the

claim terms. Vitronics, 90 F.3d at 1583. Only when intrinsic evidence proves inadequate may the

Court refer to extrinsic evidence, and even then only as an aid in “coming to the proper

understanding of the claims.” Id. at 1584; see Markman, 52 F.3d at 979-81.

IV.    CLAIM TERMS OF THE ’329 AND ’556 PATENTS SAMSUNG SEEKS TO
       HAVE CONSTRUED


 Claim Term                Snik                                  Defendants
 activation signal         No Construction required.             Signal that starts an operation on
                                                                 an electronic device
                           Or, if the Court believes that this
                           term requires construction, then:

                           Plain and ordinary meaning, or,
                           alternatively:

                           “start signal”



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 deactivation signal           No construction required.             Signal that stops an operation on
                                                                     an electronic device
                               Or, if the Court believes that this
                               term requires construction, then:

                               Plain and ordinary meaning, or,
                               alternatively:

                               “stop signal”
 decoupled                     No construction required.             Physically separated

                               Or, if the Court believes that this
                               term requires construction, then:

                               Plain and ordinary meaning, or,
                               alternatively:

                               “disconnected or disassociated”
 coupled                       No construction required.             Physically connected

                               Or, if the Court believes that this
                               term requires construction, then:

                               Plain and ordinary meaning, or,
                               alternatively:

                               “connected or associated”

(See Kyle Decl. ¶4 & Ex. C (Dkt No. 39-A (Plaintiff’s Proposed Constructions and Supporting

Evidence) & Ex. D (Dkt No. 39-B (Defendants’ Proposed Constructions and Supporting

Evidence)).)

       A.           “activation signal”

               1.      POSITAs Readily Understand “Activation Signal” And Thus It Requires
                       No Construction

       This term does not require construction because a person of ordinary skill in the art

(“POSITA”) at the time of the inventions was readily familiar with activation signals. See Innova,

381 F.3d at 1116 (“A court construing a patent claim seeks to accord a claim the meaning it would




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have to a person of ordinary skill in the art at the time of the invention.”); Home Diagnostics, 381

F.3d at 1358 (“customary meaning” refers to the “customary meaning in [the] art field”); see also

PC Connector Solutions LLC v. SmartDisk Corp., 406 F.3d 1359, 1363 (Fed. Cir. 2005) (meaning

of claim “must be interpreted as of [the] effective filing date” of the patent application.) 1

       Remarkably, Samsung admits that the term “activation signal” requires no construction. In

its Petitions for Inter Partes Review (“IPR”) filed with the United States Patent and Trademark

Office (“USPTO”), Samsung said:

       Here, given the close correlation and substantial identity between the prior art
       references and the challenged claims, Petitioner believes that no express
       constructions of the claims are necessary to assess whether the prior art reads on
       the challenged claims. (See Kyle Decl. ¶5 & Exs. E-I, (relevant excerpts of IPR
       Petitions 2020-01324, 2020-01325, 2020-01427, 2020-01428 & 2020-01427).)

Samsung cannot reconcile why no construction of “activation signal” is necessary for purposes of

determining validity at the PTAB but tells this Court that construction of “activation signal” is

mandatory. Samsung admitted to the PTAB that the term requires no construction. The Court

should hold Samsung to that admission. 2

       In any event, a POSITA would readily “ascertain from the intrinsic record” the meaning of

“activation signal” as used in the claims of the Patents-in-Suit. See Unitherm Food Sys., Inc. v.

Swift-Eckrich, Inc., 375 F.3d 1341, 1351 (Fed. Cir. 2004), rev’d on other grounds, 546 U.S. 394

(2006) (The proper definition of a claim term is the “definition that one of ordinary skill in the art

could ascertain from the intrinsic evidence in the record.”) The Patents-in-Suit use “activation




1
  All four claim terms Samsung asks the Court to construe appear in the ’329 Patent. Accordingly,
the relevant time for determining what a POSITA understood is the priority date of the ’329 Patent,
the earliest of which is February 22, 2012.
2
  Samsung also advised the PTAB that the terms “deactivation signal,” “coupled,” and “decoupled”
do not require construction.



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signal” in the manner it has been used in this art for years before the filing of the provisional

applications to which the Patents-in-Suit claim priority:

       •   “In these embodiments, upon receiving the signal from the earbud engagement
           detector 1130, the controller 1140 sends a signal to the electronic device
           activation circuit 1155 to activate the electronic device 1105.” (Kyle Decl. Ex.
           A at 15:53-57; Ex. B at 14:64-67.)

       •   “The electronic device activation circuit 1155 operates an electronic device
           1105 based upon the signal received from the controller 1140.” (Kyle Decl. Ex.
           A at 15:48-50.)

       •   “The controller is configured to send a signal to an electronic device activation
           circuit which activates the electronic device when the earphones are decoupled
           from the one or more magnetically attractable surfaces of the earphones holder
           body and deactivates the electronic device when the earphones are coupled with
           the one or more magnetically attractable surfaces of the earphones holder
           body.” (Kyle Decl. Ex. A at 1:62-2:1; Kyle Decl. Ex. B at 2:2-9.)

       •    “However, the signal sent by the electronic device controller 1140 and the
           electronic device activation circuit 1155 are able to comprise any wireless
           signal as known in the art.” (Kyle Decl. Ex. A at 16:40-43; Kyle Decl. Ex. B at
           15:52-58.)

       When reading the term in light of the intrinsic evidence, a POSITA would understand that

an “activation signal” is merely a type of signal to a controller or an activation circuit. The plain

language of the specification would show a POSITA that an “activation signal” does not “start[]

an operation on an electronic device.” Rather, consistent with the claims, the specification, and

routine use of the term “activation signal” in the art, a POSITA would understand that an

“activation signal” is nothing more than a type of signal to an electronic device controller or to an

activation circuit, and would further understand that it is the electronic device controller or the

activation circuit “which activates the electronic device…,” not the activation signal itself. (See

e.g. Kyle Decl. Ex. A at 1:62-64.)

       Simple rules of English grammar support this. The word “which” introduces a relative

clause: “The controller is configured to send a signal to an electronic device activation circuit




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which activates the electronic device….” As the Supreme Court noted in Barnhart v. Thomas,

“the grammatical ‘rule of the last antecedent’ . . . should ordinarily be read as modifying only the

noun or phrase that it immediately follows.” 540 U.S. 20, 26 (2003) (interpreting “the relative

clause ‘which exists in the national economy’”).

        The specification confirms this reading:

        In these embodiments, upon receiving the signal from the earbud engagement
        detector 1130, the controller 1140 sends a signal to the electronic device activation
        circuit 1155 to activate the electronic device 1105.

(Kyle Decl. Ex. A at 15:53-57.) So, in this embodiment, the signal to the electronic device

activation circuit is for that circuit “to activate the electronic device 1105.” (Id.)

        Moreover, the word “activation” in the term “activation signal” is an attributive noun. See,

e.g. Mondelez Global LLC v. U.S., 253 F.Supp.3d 1329, 1333 (Ct. Intl Trade 2017). An attributive

noun describes the noun that immediately follows it. (Id. (explaining that “food” in “food

preparation” is an attributive noun for the kind of “preparation” described in a customs

classification, identical “to how the attributive noun ‘chicken’ in the phrase ‘chicken soup’

describes what type of soup is meant”). Thus, the word “activation” in the term “activation signal”

is more akin to the attributive nouns “brake” in the term “brake signal” or “turn” in the term “turn

signal.” The “brake signal” does not activate the brakes, nor does the “turn signal” turn the vehicle.

        Samsung’s proposed construction is unnecessarily confusing, as it introduces additional

terminology into the claims—terminology that finds no support in the claims, specifications, or

file histories. The terms “an operation,” “signal that starts an operation,” and “an operation on an

electronic device” do not appear anywhere in the claims or the specifications. (Kyle Decl. ¶6.)

        Further evidence that POSITAs would readily understand the term “activation signal” is

use of the term in the art, for example in patents and patent applications, including Samsung’s use

of the term in its own patents and applications. Samsung regularly uses the term “activation signal”



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consistently with its use in the Patents-in-Suit. For example, in U.S. Patent Application 13/337,537

filed on December 27, 2007 disclosing and claiming a Video Telephony Method and Apparatus of

a Mobile Terminal, Samsung used the term “activation signal” as follows:

       The above structured mobile terminal activates the camera module 200 to capture a
       video image in response to the video telephony call activation signal input made by
       means of an input unit or a touch screen and transmits a video telephony call request
       message to the counterpart terminal by means of the communication module 100.

(Id. at ¶7 & Ex. J (U.S. Patent Pub. No. 2012/0169828A1) at ¶ 0040 (emphasis added).)

Samsung does not use the term “activation signal” in its own patents and applications to mean a

“signal that starts an operation on an electronic device.” Instead Samsung uses it consistently

with its use by POSITAs at the time of the invention of the Patents-in-Suit—a type of signal.

       The Court need not construe “activation signal” because a POSITA can ascertain its

meaning based on the intrinsic evidence alone. Samsung told the PTAB as much. The meaning

derived from the intrinsic evidence is entirely consistent with how POSITA’s—including Samsung

inventors—used the term “activation signal” for years before the provisional applications.

             2.    The Court Should Give the Term “Activation Signal” Its Plain And
                   Ordinary Meaning

       If the Court believes construction of “activation signal” is necessary—and it is not

necessary—the Court must give this term its plain and ordinary meaning. The claims and the

specifications make clear that an “activation signal” is simply a signal to a controller or activation

circuit, which controller or activation circuit in turn control an electronic device. Indeed, where

Honeycutt wanted to claim an activation signal that causes some effect, he expressly did so. As

discussed above, the terms “an operation,” “signal that starts an operation,” and “an operation on




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an electronic device” do not appear anywhere in the claims or the specifications. (Kyle Decl. ¶6.)3

It would be improper for the Court to import these non-existent limitations into the claims. See

Laitram Corp. v. NEC Corp., 163 F.3d 1342, 1347 (Fed. Cir. 1998) (“[A] court may not import

limitations from the written description into the claims.”). This is especially true where Samsung’s

proposed construction would read disclosed embodiments out of the claims. Vitronics, 90 F.3d at

1583 (stating that a claim interpretation that excludes embodiments is “rarely, if ever, correct and

would require highly persuasive evidentiary support”).

                     a.    The claims make clear an “activation signal” is different from a
                           “signal that starts an operation on an electronic device.”

        The Court should refer first to the language of the claims to construe them. Phillips, 415

F.3d at 1314. The claims show that an “activation signal” is not “a signal that starts an operation

on an electronic device.” For example, Claim 28[b] of the ’329 Patent recites:

       wherein the electronic device controller sends a signal the electronic device
       activation circuit to activate the electronic device when the earphones are decoupled
       from the one or more magnetically attractable surfaces of the earphones holder body.

(Kyle Decl. Ex. A at 26:23-27.)

       In Claim 28[b], the signal goes to “the electronic device activation circuit to activate the

electronic device…” The signal itself does not “start an operation on an electronic device.”

Rather, it signals the electronic device activation circuit “to activate the electronic device.”

       When Honeycutt desired to claim a cause-and effect relationship between a signal and

some desired function of an electronic device, he did so. For example, Claim 1[c] of the ’556

Patent recites:

       a headphones controller coupled to receive an activation signal when a magnetic
       decoupling is detected as one or more of the magnetic second surfaces of the set of
       head phone is removed and decoupled from one of the one or more magnetically

       3
          The words “an operation” and “an operational voltage” only appear in PCT patent
applications cited as prior art in the prosecution history of the ’556 Patent. (Id.)



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       attractable first surfaces, wherein that activation signal causes transmitted audio to
       be played in the headphones. 4

(Kyle Decl. Ex. B at 27:1-7.)

       Many claims of the Patents-in-Suit do not contain any such cause-effect relationship

between the “activation signal” and “an operation on an electronic device” (whatever Samsung

may mean by this undefined terminology). For example, Claim 1[c] of the ’329 Patent recites:

       an electronic device controller coupled to receive an activation signal when one or
       more of the set of earphones are decoupled from one of the one or more magnets,
       wherein the electronic device controller receives a deactivation signal when one or
       more of the set of earphones are coupled to one or more of the magnets.

(Kyle Decl. Ex. A at 24:35-40.)

       Claim 1[c] does not recite that the activation signal itself “causes” “an operation” to occur

when the earphones are coupled or decoupled from the one or more magnets. Accordingly, black-

letter principles of claim construction forbid the Court from reading such a limitation into the

claim. See Laitram, 163 F.3d at 1347 (“[A] court may not import limitations from the written

description into the claims.”); see Teleflex, 299 F.3d at 1326-27 (declining to limit a claim to a

preferred embodiment where there was no evidence of disclaimer).

       Some claims do, in fact, include the word “start” as a claim limitation, demonstrating that

when Honeycutt wanted to claim that an activation signal “starts” something, he knew how to

claim it. For example, dependent Claim 48 of the ’556 Patent recites:

       The method of claim 28 wherein the activation signal causes the electronic device
       to start transmitting audio to be played in the headphones.


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  It is presumed that claim terms mean the same thing across all claims in a patent. CVI/Beta
Ventures, Inc. v. Tura LP, 112 F.3d 1146, 1159 (Fed. Cir. 1997); Southwall Techs., Inc. v. Cardinal
IG Co., 54 F.3d 1570, 1579 (Fed. Cir. 1995) . Indeed, Courts should also construe the same term
consistently across related patents. Mycogen Plant Sci., Inc. v. Monsanto Co., 252 F.3d 1306,
1311 (Fed. Cir. 2001) (vacated on other grounds, 535 U.S. 1109, (2002)); NTP, Inc. v. Research
In Motion, Ltd., 418 F.3d 1282, 1293 (Fed. Cir. 2005). Samsung concedes this and advocates for
the same construction of the terms across both Patents-in-Suit. (Kyle Decl. Ex. D.)



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(Kyle Decl. Ex. B at 32:8-10 (emphasis added); see also Id. at 32:23-25 (Claim 53).)

       The Court should not construe an independent claim to include a limitation added by a

dependent claim. See Nazomi Commc’ns, Inc. v. Arm Holdings, PLC., 403 F.3d 1364, 1370 (Fed.

Cir. 2005) (“Claim differentiation normally means that limitations stated in dependent claims are

not to be read into the independent claim from which they depend”). Independent Claim 28 of

the ’556 Patent (from which Claim 48 depends) does not say that the activation signal “starts” “an

operation on an electronic device,” whereas dependent Claim 48 says that the activation signal

causes the electronic device “to start transmitting audio to be played in the headphones.”

Accordingly, the Court must not import the word “start” into the broader claims. As a matter of

law, there is a difference between “causing transmitted audio to be played” (as claimed in

independent Claim 28[b]) and “causes the electronic device to start transmitting audio…” (as

claimed in dependent claim 48).

       In Samsung’s nonsensical construction, dependent Claim 48 is redundant of the cited

language from Claim 28[c] because the activation signal arguably starts the transmission of

transmitted audio twice. Again, the doctrine of claim differentiation requires the Court to give full

effect to claim language. “Causing” transmitted audio to be played in the earphones is broader

than “causing the electronic device to start transmitting audio” to be played in the headphones.

Samsung’s proposed construction cannot be proper as a matter of law.

                     b.    The specifications make clear an “activation signal” is not a
                           “signal that starts an operation on an electronic device.”

       The specification makes clear it is the electronic device controller or the electronic device

activation circuit that controls an electronic device, not an activation signal. Indeed, Samsung’s

proposed construction impermissibly reads disclosed embodiments out of the patents. See

Vitronics, 90 F.3d at 1583 (stating that a claim interpretation that excludes embodiments is “rarely,




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if ever, correct and would require highly persuasive evidentiary support”). For example, the ’329

Patent discloses: “The electronic device activation circuit 1155 operates an electronic device 1105

based upon the signal received from the controller 1140;” and, “Particularly, the controller is

configured to send a signal to an electronic device activation circuit which operates the electronic

device in a manner dependent upon the signal.” (Kyle Decl. Ex. A 15:48-50 and 2:3-6 (emphasis

added).) Thus, in these disclosed embodiments, it is the activation circuit “which operates the

electronic device” and such operation is in a manner consistent with the signal.              These

embodiments would make no sense if it were the signal that “starts an operation on an electronic

device” because it would be the signal operating the electronic device “in a manner dependent

upon” itself. Accordingly, Samsung’s proposed construction cannot be correct.

       Samsung’s proposed construction reads other disclosed embodiments out of the patents as

well. The ’329 Patent discloses: “In further embodiments, the electronic device controller is

configured to activate the electronic device when the earphones are decoupled from the holder

body. In still further embodiments, the electronic device controller is configured to deactivate the

electronic device when the earphones are coupled with the holder body.” (Kyle Decl. Ex. A at

2:64-67.) If the activation signal “starts an operation on an electronic device,” then the controller

is not “activating” the electronic device “when the earphones are decoupled from the holder body.”

This is meaningful in the claims themselves. For example, Claim 1[c] of the ’329 Patent recites:

“an electronic device controller coupled to receive an activation signal when one or more of the

set of earphones are decoupled from the one or more magnets…” In Claim 1[c], if the activation

signal itself “starts an operation on an electronic device,” then there would be no need for the

electronic device controller to appear in the claim at all because the electronic device controller




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would not be “activat[ing] the electronic device when the earphones are decoupled from the holder

body” as the disclosed embodiment at 2:64-3:3 of Kyle Decl. Ex. A says it should.

                      c.    The prosecution history of the ’556 Patent does not establish clear
                            and unmistakable disclaimer of claim scope.

        Snik anticipates that Samsung will try to manufacture disavowal where there is none,

tacitly admitting the weakness of its proposed constructions. The Court should not be fooled. Snik

is entitled to the full scope of the claims in the Patents-in-Suit.

        Only a “clear and unmistakable disavowal of scope” amounts to disclaimer. See Home

Diagnostics, 381 F.3d at 1358 (“Absent a clear disavowal or contrary definition in the specification

or the prosecution history, the patentee is entitled to the full scope of its claim language.”); see

also Purdue Pharma L.P. v. Endo Pharms., Inc., 438 F.3d 1123, 1136 (Fed. Cir. 2006) (only “a

clear and unmistakable disavowal of scope during prosecution” may affect the construction of a

claim term).

        During prosecution of the application that resulted in issuance of the ’556 Patent,

Honeycutt amended claims to recite that an activation signal “causes transmitted audio to be played

in the headphones.” (Kyle Decl. ¶8 & Ex. K (March 23, 2017 Response to Office Action (“March

23 ROA”) at pp.12-13.) He did not, however, disclaim the full breadth of claim scope with respect

to the term “activation signal.” In fact, in the March 23 ROA, Honeycutt was entirely consistent

with the specification:

        The controller is configured to send a signal to an electronic device activation
        circuit which activates the electronic device when the earphones are removed and
        decoupled from the one or more magnetically attractable surfaces of the earphones
        holder body and deactivates the electronic device when the earphones are coupled
        with the one or more magnetically attractable surfaces of the earphones holder body.
        In some further embodiments, external audio is transmitted through the headphones.

(Id. at 13 (emphasis added).)




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       Honeycutt’s addition of the language “causes the transmitted audio to be played in the

headphones” is not a “clear and unmistakable disavowal” of a broader interpretation of “activation

signal.” The standards for finding disavowal are “exacting.” GE Lighting Solutions, LLC v.

AgiLight, Inc., 750 F.3d 1304, 1309 (Fed. Cir. 2014). To disavow or disclaim the full scope of a

claim term, the patentee’s statements in the specification or prosecution history must amount to a

“clear and unmistakable” surrender. Cordis Corp. v. Boston Sci. Corp., 561 F.3d 1319, 1329 (Fed.

Cir. 2009). “Where an applicant’s statements are amenable to multiple reasonable interpretations,

they cannot be deemed clear and unmistakable.” 3M Innovative Props. Co. v. Tredegar Corp.,

725 F.3d 1315, 1326 (Fed. Cir. 2013). Here, at the very least, Honeycutt’s March 23 ROA is

subject to multiple reasonable interpretations. Therefore, it is not a clear and unmistakable

disclaimer as a matter of law.

       The language of the claims themselves and the prosecution history demonstrate that it is

possible to have “activation signals” that do not cause “transmitted audio to be played in the

headphones.” If the term “activation signal” meant only a signal that “causes” transmitted audio

to be played in the earphones, as Samsung must argue to support an assertion of disclaimer, then

the language “causes transmitted audio to be played in the earphones” is superfluous in the context

of the claims of the ’556 Patent. Bicon, Inc. v. Straumann Co., 441 F.3d 945, 950 (Fed. Cir. 2006)

(“claims are interpreted with an eye toward giving effect to all terms in the claim”); see also

Digital-Vending Servs. Int’l, LLC v. Univ. of Phoenix, Inc., 672 F.3d 1270, 1275 (Fed. Cir. 2012)

(rejecting a claim construction that caused other claim language to be “superfluous” as “contrary

to [Bicon’s] well-established rule”). For example, Honeycutt could have amended then-pending

Claim 1[c] to read:

       A headphones controller coupled to receive an activation signal when a magnetic
       decoupling is detected as one or more of the magnetic second surfaces of the set of




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       head phones is removed and decoupled from the one or more magnetically
       attractable first surfaces.

But he did not do so. Instead, in the March 23 ROA Honeycutt amended then-pending Claim 1[c]

to read:

       A headphones controller coupled to receive an activation signal when a magnetic
       decoupling is detected as one or more of the magnetic second surfaces of the set of
       head phones is removed and decoupled from the one or more magnetically
       attractable first surfaces, wherein the activation signal causes transmitted audio to
       be played in the headphones.

(Kyle Decl. Ex. K at p.2 (emphasis altered).) In other words, the term “activation signal” standing

alone in the first line of the claim is broader than an activation signal that “causes transmitted audio

to be played in the headphones.” And that is precisely because it is not the activation signal that

“activates the electronic device” but rather, as Honeycutt advised the patent examiner in this

instance, it is the “electronic device controller which controls operation of the electronic device.

The controller is configured to send a signal to an electronic device activation circuit which

activates the electronic device….” (Id. at p.13 (emphasis added).)

       This is entirely consistent with the claims and the specification, which make clear that an

“activation signal” is just a type of signal that signals another component (i.e. an electronic device

controller or an electronic device activation circuit) to activate an electronic device. An “activation

signal” can “cause” transmitted audio to play on the earphones by signaling a controller or an

activation circuit to activate the electronic device, which, in turn, transmits audio to the earphones.

That does not mean that the “activation signal” itself “starts an operation on an electronic device.”

At the very least, Honeycutt’s statements in the March 23 ROA are amenable to “reasonable

interpretations” and therefore cannot be deemed “clear and unmistakable” disclaimer.




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                     d.     The Court should disregard Samsung’s proffer of needless and
                            confusing extrinsic evidence.

       In an attempt to cloud the issue, Samsung proffers a surfeit of extrinsic evidence, again

tacitly admitting that the intrinsic evidence does not support its proposed construction of

“activation signal.” The Court need only look to the dictionary definitions Samsung offers to see

that it jousts windmills.

       Samsung cites to the Wiley Electrical and Electronics Engineering Dictionary, presumably

for the definition of “activation.” (Kyle Decl. Ex. D at p.2; id. at ¶9 & Ex. L.) But the various

definitions there do not clarify whether the claimed “activation signal” is “a signal that starts an

operation on an electronic device.” The first definition, “the initiation of a sequence or process”

does not require that an “activation signal” itself actually “start” any operation, especially where

the intrinsic evidence is clear that it is the electronic device controller or the electronic device

activation circuit “which activate the electronic device.” In other words, a signal can “initiate a

sequence or process” without actually being the thing that ultimately “starts an operation on an

electronic device.” Moreover, there are alternative definitions for “activation” that align more

with Snik’s interpretation. For example: “4. The inducing into an action.” The activation signal

“induces” either the electronic device controller or the electronic device activation circuit into

action, and the controller or the activation circuit, in turn, activates the electronic device.

Samsung’s proffer of this dictionary definition creates more confusion than it solves and cannot

outweigh the intrinsic record set forth above.

       Similarly, Samsung proffers the definition of “activation” from Newton’s Telecom

Dictionary. (Kyle Decl. Ex. D at p.2.; id. at ¶10 & Ex. M.) But this dictionary bears a copyright

date from after the filing dates of the provisional applications that resulted in the ’329 Patent:

“copyright © 2013.” Accordingly, this dictionary is not usable as extrinsic evidence as a matter




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of law because it would not inform a POSITA of the meaning of “activation” at the time of the

invention. Besides, the definition in this dictionary is not congruent with the definition in the

Wiley dictionary that Samsung also cites. Differing definitions from two different sources cannot

possibly serve to outweigh the intrinsic evidence and rewrite the claims. Newton’s definition of

“activation” is: “To make something active. To make it work.” It then goes on to describe the

process of provisioning a cell phone on a provider’s network so that “the phone can make and

receive calls.” Again, this cherry-picked definition creates more confusion than it solves in the

context of the Patents-in-Suit. The language of the claims and the specifications make clear the

“activation signal” alone does not make an electronic device “work” for transmission of audio to

the earphones. The signal merely signals other components to “make it work.” Indeed, the

definition “to make something activate” supports Snik’s interpretation—the “activation signal”

signals the controller or the activation circuit to “activate” the electronic device. Nothing in the

dictionary definitions Samsung offers justifies deviating from the plain and ordinary meaning.

       B.      “deactivation signal”

       The arguments above with respect to “activation signal” apply equally to the term

“deactivation signal.” Indeed, most claims reciting an activation signal also recite a deactivation

signal. (Kyle Decl. Ex. A at Claims 1, 10, 36, 49 53 and their dependent claims; Kyle Decl. Ex. B

at Claims 23, 28, 29, 36, 38, 39, 40, 42, 47, 49, 52, 54.) As with the term “activation signal,” when

Honeycutt wanted to claim that a “deactivation signal” stopped something, he claimed it expressly:

“49. The method of claim 48 wherein the deactivation signal causes the electronic device to stop

transmitting audio to be played in the headphones.” (Kyle Decl. Ex. B at 32:12-14; see also Claim

54 at 32:27-29 (same).)     And like “activation signal,” the terms “an operation,” “stops an

operation,” and “an operation on an electronic device” do not appear anywhere in the claims or the




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specifications. (Kyle Decl. ¶6.) The Court should refuse Samsung’s proffered construction on that

basis alone.   The term “deactivation signal” does not appear in the specifications, so the term is

defined by its opposite, an “activation signal.” A “deactivation signal” is therefore merely a type

of signal to another component, which component in turn deactivates an electronic device.

       C.      “coupled and “decoupled”

               1. POSITAs Readily Understand “Coupled” And “Decoupled” Such That
                  These Terms Require No Construction

       Like the terms “activation signal” and “deactivation signal,” the terms “coupled” and

“decoupled” require no construction because a POSITA would readily understand them in the

context of the Patents-in-Suit. Again, Samsung has represented to the PTAB that the terms

“coupled” and “decoupled” require no construction. (See Kyle Decl. at Exs. E-I.) The Court

should hold Samsung to that admission.

       The terms do not require construction, as a POSITA would readily “ascertain from the

intrinsic record” the meaning of “coupled” and “decoupled” as used in the claims of the Patents-

in-Suit. The Patents-in-Suit use these terms in the manner POSITAs used them in this art for years

before the filing of the provisional applications to which the Patents-in-Suit claim priority: for

example, “In some embodiments, the set of earphones is coupled to an earphones jack of the

earphones holder. In some embodiments, the electronic device is wirelessly coupled to the

earphones holder.” (Kyle Decl. Ex. A at 4:9-12.) Moreover, the claims themselves say that a

controller can be “coupled to receive and activation signal…” and that the activation signal can be

“sent wirelessly.” (Id. at Ex. B, Claim 1[c] at 27:1-7 and Claim 45 at 31:31-32; see also id. at Ex.

A, Claim 43 at 27:43-50 (“wherein the electronic device is wirelessly coupled to the earphones

holder.”).) These disclosures establish that a POSITA would readily understand that “coupled” as




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used in the Patents-in-Suit is not limited to “physically connected” where the claims and the

specifications disclose non-physical (here, wireless) connections.

       Further evidence that POSITAs would readily understand the terms “coupled” and

“decoupled” comes from other patents and applications in the art, including Samsung’s use of the

terms in its own patents and applications. Samsung regularly uses the terms consistently with their

use in the Patents-in-Suit. Samsung’s past use of “coupled” and “decoupled” does not require

“physical connection” or “physical separation.”

       For example, U.S. Patent 9,748,913 claims priority to an application filed on September 6,

2007 and discloses an Apparatus and Method for Transmitting/Receiving Voice Signal Through

Headset. There, Samsung claims microphones that are “electrically coupled,” “communicatively

coupled,” or “operatively coupled” with an electronic device, an external device, or an apparatus.

(Kyle Decl. ¶11 & Ex. N (U.S. Patent 9,748,913) at 13:35-54.) In particular, Claim 1 recites the

first and second microphones “communicatively coupling” with an “external device.” (Id.) 5

Nowhere in this patent does Samsung say that the coupling requires “physical connection.”

       Similarly, in U.S. Patent No. 8,345,429 filed on February 12, 2010 disclosing and claiming

a Mobile Terminal Having Detachable Sub-Module, Samsung claims magnetic coupling of the

sub-module to the mobile terminal:

       •   “…the connection unit being configured to detachably couple the sub-module
           in at least electrical communication with the main terminal” (Kyle Decl. ¶12 &
           Ex. O, (U.S Patent No. 8,345,429) at Claim 1, 8:67 – 9:2.)

       •   “…the sub-module 200 is coupled to the main terminal 100 or detached from
           the main terminal 100 through the magnet 164.” (Id. at 4:18-20.)



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  E.g. a cellular phone that “is connected to a Bluetooth headset 200 via the Bluetooth protocol and
transmits data, such as a control signal and a voice signal, etc. to the Bluetooth headset 200. The
portable terminal 100 receives data, such as a control signal and a voice signal, from the Bluetooth
headset 200.” (Id. at 4:33-38.)



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       •   “It will be understood that when an element or layer is referred to as being “on”
           or “connected to another element or layer, it can be directly on or directly
           connected to the other element or layer, or intervening elements or layers may
           be present.” (Id. at 2:63-67.)

       Once again, in its own patents that predate the Patents-in-Suit, Samsung itself does not

restrict “coupling” and “decoupling” to “physical connection” or “physical separation.” Instead,

it used the terms “coupling” and “decoupling” consistent with how a POSITA at the time of the

inventions in the Patents-in-Suit would have understood the terms—connected, but not limited to

direct physical connection without “intervening elements or layers.” Nothing in the claims, the

specifications, or the file histories of the Patents-in-Suit would cause a POSITA to think otherwise.

       Courts routinely interpret the terms “coupled” and “decoupled” consistent with their use in

the art. Use of “coupled” without other limitations, indicates that “coupled” may mean “directly

or indirectly connected.” See e.g. Bradford Co. v. Conteyor N. Am., Inc., 603 F.3d 1262, 1270-71

(Fed. Cir. 2010) (finding that the district court erroneously construed the term ‘coupled to’ to

require direct connection of dunnage structures of claimed containers to mean directly attached:

“we hold that the term should be construed broadly so as to allow an indirect attachment.”); In re

Translogic Technology, Inc., 504 F.3d 1249, 1258 (Fed. Cir. 2007); MEMS Tech. Berhad v. Int’l

Trade Comm’n, 447 F.App’x 142, 151-52 (Fed. Cir. 2011) (nonprecedential) (finding “electrically

coupled” to mean “arranged so that electrical signals may be passed either directly, or indirectly

via intervening circuitry, from one component to another”); WeddingChannel.com, Inc. v. The

Knot, Inc., No. 03 Civ. 7369 (RWS), 2005 WL 165286, at *10-12 (S.D.N.Y. Jan. 26, 2005)

(construing “coupled” to mean “connected, directly or indirectly, to allow the transfer of signals

or information”).

       This Court has itself broadly interpreted the term “coupled” in past cases. In SimpleAir,

Inc. v. Google, Inc., “The Court construe[d] ‘communicatively coupled’ to mean ‘connected or




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associated in a way that permits communication.’” No. 2:13-CV-0937-JRG, 2015 WL 1906016,

at*22 (E.D. Tex. Apr. 27, 2015). “In context of the specification as a whole,” the Court explained,

“it is clear that these devices are associated together in that the claims are in a manner that allows

communication. The specification provides the necessary context to the claimed term.” (Id. at *21.)

       In Charles E. Hill & Assoc. v. Abt Elecs., Inc., this Court held “that ‘coupled’ means

‘connected’ and not ‘directly connected’” because the intrinsic record offered little support for a

“directly connected” construction where the words “direct” and “directly” did not appear in the

claims or the specification, there was no clear disclaimer of claim scope, and defendant cited

inapposite law to support its construction. No. 2:09-CV-313-JRG, 2012 WL 72714, at *17-18

(E.D. Tex. Jan. 10, 2012).) In that case, this Court even considered whether construction of the

term “coupled” was “even necessary.” Id. at *18. Ultimately, the Court decided that the term

“coupled to a remote computer” could be given its plain and ordinary meaning, but that “the word

connected is likely easier for a jury to understand.” (Id.) Here, similar to Charles E. Hill, the words

“physically” and “physically connected” do not appear anywhere in the claims or the

specifications. (Kyle Decl. ¶13.)

       A POSITA would understand that the generic terms “coupled” and “decoupled,” used

without precursor modifiers, to encompass any sort of coupling and decoupling in this art, to

include indirect and non-physical coupling and decoupling (e.g. the disclosure of “wirelessly

coupled” discussed above). The terms “coupled” and “decoupled” do not require construction.

               2. The Court Should Give The Terms “Coupled” And “Decoupled” Their
                  Plain And Ordinary Meaning

       If the Court believes construction of “coupled” and “decoupled” is necessary—and it is

not—the Court must give these terms their plain and ordinary meaning. The claims and the

specifications make clear that “coupled” does not require “physical connection.” Indeed, the




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specification is replete with examples of Honeycutt using the words “couple,” “coupled,” and

“coupling” to cover non-physical connections, such as the wireless coupling between an electronic

device (e.g. a mobile phone) and an earphones holder. (Kyle Decl. Ex. A at 4:9-12.) Nor do the

claims or the specifications limit the terms “coupled” and “decoupled” to a direct connection

between two things with no intermediate material or structures between the two. The terms

“physically connected” and “physically separated” do not appear anywhere in the claims or the

specifications. (Kyle Decl. ¶13.) Accordingly, it would be improper for the Court to import these

non-existent limitations into the claims. See Laitram, 163 F.3d at 1347.

                     a.    The claims make clear that “coupled” and “decoupled” do not
                           require “physical connection” nor “physical separation.”

       The Court need only look at Claim 1 of the ’329 Patent to see that Honeycutt used the

words “coupled” and “decoupled” broadly, without any limitation to “physically connected” or

“physically separated”:

       1[b] a set of earphones comprising a magnetically attractable surface for removably
       coupling with the one or more magnets; and

       1[c] an electronic device controller coupled to receive an activation signal when
       one or more of the set of earphones are decoupled from the one or more magnets,
       wherein the electronic device controller receives a deactivation signal when one or
       more of the set of earphones are coupled to one of the one or more magnets.

In Claim 1 of the ’329 Patent, the electronic device controller is “coupled to receive an activation

signal” even though it has no direct, physical connection to the earphones or the magnets. For

example, Figure 11 illustrates a controller (1140) in a holder body (1101) where the controller has

no direct physical connection to the earphones (1175), the magnets (1185), the magnetically

attractable surfaces (1110), or the activation circuit (1155):




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       Honeycutt’s use of “coupled” for the non-physical connection between an electronic device

controller and the set of earphones in Claim 1 creates a conundrum for Samsung. So Samsung

tells the Court that Honeycutt used the word “coupled” inconsistently in the Patents-in-Suit. To

make its proposed construction work, Samsung argues that the term means something different

when it “involves magnetism” from what the word means when used in all the other contexts in

the Patents-in-Suit—and indeed from its different use within the same claim. (Kyle Decl. Ex. D

at p.6, n1.) That is nonsense. It also ignores well-settled law. Claim terms should mean the same

thing across all claims in a patent. CVI/Beta Ventures, 112 F.3d at 1159 (“We are obliged to

construe the term ‘elasticity’ consistently throughout the claims”); Southwall Techs., 54 F.3d at

1579 (holding that claim terms found in different claims should be interpreted consistently); see

also n1, supra.

       Honeycutt also used the claim term “connected” in the claims of the ’556 Patent to denote

a non-physical connection of a phone call, so “coupled” cannot be limited to “physically

connected.” For example, Claim 41 recites: “The audio system of Claim 1 wherein the activation

signal causes an incoming call to a telephone to be answered and connected and further wherein

transmitted audio comprises audio for the call.” (Kyle Decl. Ex. B at 31:12-15 (emphasis added);

see also id. at Claims 46 at 32:1-4; and Claim 51 at 32:16-19.) Honeycutt knew how to claim




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using the word “connected” and only did so for non-physical connections. If Honeycutt intended

for “coupled)” to mean “physically connected” only where it “involves magnetism,” he would

have claimed it.

       When Honeycutt wanted to claim a physical connection, he often used the claim term

“attached to,” as, for example, in dependent Claim 9: “The system of claim 1 wherein the

magnetically attractable surface is attached to the cord of the earphones.” (Kyle Decl. Ex. A at

24:58-59 (emphasis added); see also id. at Claim 22[b] at 25:53-54 (“one more magnetically

attractable surfaces attached to the holder body;” Claim 37[b] at 37:9-11 (same); Claim 54[b] at

28:41 (“one or magnets attached to the holder body”).)

       Because “coupled” cannot possibly mean “physically connected” in the context of the

claims, construing the term “decoupled” to mean “physically separated” would be equally

problematic. Again, the words “physically” and “physically separated” do not appear in the claims

and should not be imported into the terms “coupled” and “decoupled.” (Kyle Decl. ¶13.)

                    b.    The specifications make clear that “coupled” and “decoupled” do
                          not require “physical connection” nor “physical separation.”

       The specifications of the Patents-in-Suit do not use the words “physical,” “physically,”

“physically connected,” or “physically separated.” (Id.) The specifications, however, use the

words “connect,” “connected,” or “connection” fourteen times in the ’329 Patent and fifteen times

in the ’556 Patent. (Kyle Decl. ¶14.) The specifications use the words “attach,” “attached,”

“attaching,” or “attachment” 31 times in the ’329 Patent and twenty times in the ’556 Patent. (Kyle

Decl. ¶15.) What is clear from Honeycutt’s choice of the words “connect” and “attach” and their

variants is that “connect” encompasses both physical connections and non-physical connections,

while “attach” refers to physical connections.




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       For example, all 51 uses of the word “attach” and its variants in the specifications concern

physical connection of things.6 In one instance Honeycutt even used “attached” in reference to a

magnetic mechanism for physically attaching a holder body to a bag or article of clothing. (Id. at

Ex. A at 7:37-39.) That is proof positive that when Honeycutt intended magnetic attachment to

mean “physically connected,” he said it plainly by using the word “attached” and not “coupled.”

       Moreover, the specification repeatedly says that magnets or magnetically attractable

surfaces can be “encased or embedded within a plastic over mold…” (Id. at 6:11-14; see also, e.g.

5:63-65, 6:44-48), “built into the body…” (id. at 6:57-58, 7:24-26, 7:55-56), or “embedded within

the body” (id. at 7:52-53, 13:3-4).) Magnets or magnetically attractable surfaces “embedded

within” a structure by a “plastic over mold” or otherwise cannot directly, physically connect with

other structures. But the specification repeatedly refers to magnets or magnetically attractable

surfaces “coupling” with other structures. If “coupled” meant “physically connected,” these

disclosures would be nonsensical, and such embodiments would be read out of the claims. The

following disclosure from the ’329 specification is dispositive on this point: “A user places a set

of earphones near to the magnet in order to allow the earphones to magnetically attract to and be

held by the magnet…Then, when the user no longer wishes to use the electronic device, the

earphones are recoupled with the magnet and the electronic device is deactivated.” (Id. at 20:47-

55 (emphasis added); see also id. at 14:20-23 (“Then, when not listening to the electronic device,


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  See e.g. Kyle Ex. A at 2:24-26; (attachment of magnetically attractable surfaces to the cord of
earphones); 2:28-31, 2:44-46, 3:6-9, 14:59-63, 17:57-63, 19:19-24 (buckle attachment as a type
of holder body); 2:56-60, 3:52-57, 7:52-55, 9:40-43, 13:4-6 (magnet or magnetically attractable
surfaces attached to the holder body); 3:3-6, 3:34-36, 3:37-39, 4:17-20, 7:34-37 (holder body
including mechanism to attach it to an additional article, where the mechanism can be a clip, pin,
or magnet ); 6:7-10 (holder body attached to bag or item of clothing); 6:46-48 (magnet separate
component attached to snap); 7:17-20, 7:20-23, (attachment of adornment to bag or article of
clothing); 7:31-32 (holder attached to shirt); 9:43-47 (attachment of item to strap); 10:10-11 (clip
attached to sports helmet); 11:66-12:3 (attachment by stitching, riveting, heat pressing, adhesive
attachment, or chemical method).



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a user places a set of earphones near to the magnet in order to allow the earphones to magnetically

attract to and be held by magnet” (emphasis added)).) If magnets are “encased within” a “plastic

over mold,” then no “physical connection” between the magnets and the earphones is possible

when a user places a set of earphones “near to the magnet” to be “magnetically attract[ed] [and]

held by the magnet.” As any elementary school child knows, magnetic force can pass through

non-magnetic materials—for example school children can and do couple two magnets together

with paper or some other non-magnetic material in between them. Those magnets are “coupled”

in the sense of the Patents-in-Suit even though they are not directly “physically connected.”

       There is abundant disclosure in the specifications to show that Honeycutt did not mean to

limit “coupled” to “physically connected.” For the same reasons, “decoupled” does not require

“physical separation.” Decoupling can include physical separation, but it does not require it.

Because “coupled” does not require direct physical contact, “decoupled” cannot require physical

separation of such physical contact. Accordingly, it would be error for the Court to import the

limitations “physically connected” and “physically separated” into the claims, whether only for

instances “involving magnetism” or not.

                     c.   The prosecution history does not establish clear and unmistakable
                          disclaimer of claim scope.

       Because the claims and the specifications do not support Samsung’s proposed

constructions, Samsung will undoubtedly turn to the tired argument that Honeycutt disclaimed the

full breadth of the terms “coupled” and “decoupled.” But there is no such “clear and unmistakable”

disclaimer of claim scope.

       Samsung cites to an August 11, 2016 Response to Office Action (“August 11 ROA”)

during prosecution of the ’556 Patent in which Honeycutt distinguished a reference (U.S. Patent

Application Pub. No. 2013/0129110 to Harper) as follows:




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        As described above, Harper teaches that a varying signal is sent to the remote
        control module based on the proximity of two magnets, not on a magnet being
        decoupled.

(Kyle Decl. ¶16, Ex. P (August 11 ROA) at 3).

But nothing in that statement, or anywhere else in the August 11 ROA for that matter, amounts to

“clear and unmistakable” disclaimer of the full scope of the terms “couple(d)” and “decoupled.”

Honeycutt merely pointed out to the examiner that Harper sent a varying signal based on

“proximity” and not an activation signal based on decoupling of magnets and/or magnetic surfaces.

He made this clear in the first sentence of the same paragraph containing the discussion of Harper’s

variable signal:

        Harper does not teach a controller coupled to receive an activation signal when one
        or more of the magnetic second surfaces of the set of headphones are decoupled
        from one or more of the magnetically-attractable surfaces of a holder body.

(Id. at 3 (underline added; bold and italics in original).)

        Samsung cannot credibly argue that Honeycutt’s statement regarding Harper’s variable

signal based on proximity amounts to disclaimer of the full scope of “couple(d)” and “decoupled”

where Honeycutt expressly told the examiner that Harper did not teach an activation signal based

on coupling or decoupling. There is no “clear and unmistakable” disclaimer and no justification

for importing the unclear and confusing “physically” limitation into the claims.

        Similarly, nothing in Honeycutt’s September 30, 2016 Response to Office Action

(“September 30 ROA”) in the prosecution of the ’556 Patent amounts to “clear and unmistakable”

disclaimer. (Kyle Decl. ¶17, Ex. Q.) In the September 30 ROA, Honeycutt said that: “the claims

have been amended to specify that an activation signal is sent when the headphones are removed

and decoupled from the one or more magnetically attractable surfaces.” (Id. at p.9.) Again, that

statement is not a “clear and unmistakable” disclaimer of the full scope of the terms “coupled”




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and “decoupled.” Headphones can be “removed and decoupled” from magnetically attractable

surfaces without requiring that the headphones be directly, physically connected to such

magnetically attractable surfaces. Honeycutt made this clear to the examiner in the September 30

ROA, advising that Harper did not reference any headphones controller coupled to receive an

activation signal when a magnetic decoupling is detected.           (Id. at 10-11.)     Magnetic

coupling/decoupling can occur regardless of whether the magnets/magnetically attractable

surfaces are “physically connected” or “physically separated.” Honeycutt did not “clearly and

unmistakably” disclaim non-physical, magnetic decoupling or coupling.

                    d.    The Court should disregard Samsung’s proffer of needless and
                          confusing extrinsic evidence.

       Once again, in an attempt to salvage proposed constructions that are plainly improper based

on the claim language, the specifications, and the prosecution history, Samsung vainly advances

extrinsic evidence. The Court need not concern itself with any of this extrinsic evidence where the

intrinsic evidence is conclusive. Thus, Snik will not address in detail all the extrinsic evidence

Samsung cites. Snik will, however address Samsung’s unnecessary dictionary definitions.

       As with “activation signal,” Samsung cherry-picks a dictionary definition, this time for

“couple,” from the Oxford dictionary of Mechanical Engineering. But that dictionary post-dates

the filing of the priority provisional application: “© Oxford University Press 2013.” Therefore, it

would not have informed a POSITA at the time of filing the provisional applications what the

words “couple” or “coupling” meant in the context of these patents. (Kyle Decl. Ex. D at p.8; id at

¶18 & Ex. R.) The Court should disregard that dictionary.

       But more importantly, the definition of “couple” in this dictionary has absolutely nothing

to do with the words “coupled” and “decoupled” in the Patents-in-Suit. Rather, it relates to force

vectors of equal magnitude but opposite directions and separated by a distance. The Patents-in-




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Suit have nothing to do with mechanical force couples. In other words, this definition of “couple”

does not preclude non-physical, indirect connection of two things in the sense the term is used in

the Patents-in-Suit. Moreover, the definition of “coupling” also has nothing to do with use of the

words “coupled” or “decoupled” in the Patents-in-Suit. The dictionary defines coupling as “1. Any

mechanical fastening connecting two or more shafts, or parts of a mechanism, in order to transmit

power. 2. A device for connecting two vehicles.” The Patents-in-Suit have nothing to do with

mechanical connections for transmitting power or with connecting two vehicles. These definitions

would not inform a POSITA about “coupling” or “decoupling” as used in patents that read on

Bluetooth headsets playing audio from electronic devices, and controlling the playing of such

audio through decoupling and coupling of magnets and/or magnetically attractable surfaces. The

dictionary definitions upon which Samsung relies are from a different art and would not inform a

POSITA in the art relevant to the Patents-in-Suit. The Court should disregard Samsung’s dubious

dictionary definitions.

 Dated: August 26, 2020                          Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that counsel of record who are deemed to have consented

to electronic service are being served with a copy of this document via the Court’s CM/ECF system

per Local Rule CV-5(a)(3) on this 26th day of August, 2020.


                                                           /s/ John S. Kyle
                                                            John S. Kyle




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